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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

In re:   Peter Danis                             :         Chapter 13
                                                 :
                                Debtor           :         Bankruptcy No: 18-14785AMC

                                                 ORDER

         Upon consideration of the Application for Compensation and Reimbursement of Expenses for
Brad Sadek, Esquire., counsel for Debtor (the “Application”), and upon Counsel for Debtor’s request to
retain jurisdiction at the Motion to Dismiss hearing on June 9th, 2019, IT IS ORDERED THAT:

         1.     The case is dismissed without prejudice.

         2.     Pursuant to 11 U.S.C. §349(b)(3), the undistributed, pre-confirmation chapter 13 plan
                payments held by the chapter 13 trustee shall not revest in the Debtors or any other entity
                pending further order of this court.

         3.     A hearing if required shall be held on ______________________________, at
                __________ in Bankruptcy Courtroom No. 5, U.S. Courthouse, 901 Market Street,
                Philadelphia, PA to consider the Application.

         4.     Any other party who asserts an entitlement to the allowance of an administrative expense
                pursuant to 11 U.S.C. §503(b) shall file its request with the court and serve all creditors
                in accordance with the applicable rules of court no later than five (5) days before the
                hearing date set forth in Paragraph 3 above.

         5.     Counsel for Debtors shall serve a copy of this Order on all creditors and interested parties
                and file a Certification of Service on or before ___________________________.



                                                           _________________________________
                                                           Honorable Ashely M. Chan
                                                           United States Bankruptcy Judge

         cc:
                William C. Miller, Esquire
                Chapter 13 Standing Trustee
                P.O. Box 40119
                Philadelphia, PA 19106-0119
